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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

JAMESON TAYLOR ANDERSON,            )
ROBERT DEAN ANDERSON, and           )           Civil Action File No.
ROGER MALDONADO,                    )
                                    )           1:19-cv-05582-SCJ
     Plaintiffs,                    )
                                    )
           v.                       )
                                    )
USI ADVANTAGE CORP. and             )
USI INSURANCE SERVICES, LLC         )
                                    )
     Defendants.                    )
___________________________________ )

      DEFENDANT USI INSURANCE SERVICES LLC’S ANSWER,
        AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS

      Defendant USI Insurance Services LLC (“USI” and the "Defendant") hereby

files its Answer, Affirmative Defenses, and Counterclaims in response to the

Verified Complaint for Declaratory Judgment and Injunctive Relief (“Complaint”)

filed by Plaintiffs Robert Dean Anderson (“Dean Anderson”), James Taylor

Anderson (“Taylor Anderson”), and Roger Maldonado (collectively with Dean

Anderson and Taylor Anderson, the “Plaintiffs”) and shows the Court the

following:
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                USI’S ANSWER AND AFFIRMATIVE
         AND OTHER DEFENSES TO PLAINTIFFS’ COMPLAINT

                                     ANSWER

      USI responds to the numbered Paragraphs of the Complaint as follows:

                          Response to Nature of Action

                                          1.

      In response to the allegations contained in the first sentence of Paragraph 1

of the Complaint, USI admits that this action arises in the context of the

employment relationship between Plaintiffs and USI and that this action seeks a

declaratory judgment and injunctive relief relating to restrictive covenants in

certain agreements entered into by Plaintiffs, but denies that Dean Anderson and

Taylor Anderson have a “former” employment relationship and denies that

Plaintiffs are entitled to any relief. In response to the allegations contained in the

second sentence of Paragraph 1 of the Complaint, USI admits that Plaintiffs seek

declaratory and injunctive relief, but denies that Plaintiffs are entitled to any such

relief. USI denies the allegations contained in the third sentence of Paragraph 1 of

the Complaint.




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                  Response to Parties, Jurisdiction, and Venue

                                       2.

      USI admits, upon information and belief, that Taylor Anderson is a resident

of DeKalb County, Georgia. USI denies the remaining allegations contained in

Paragraph 2 of the Complaint and states that Taylor Anderson is currently

employed by USI, which does business, among other places, in Fulton County,

Georgia.

                                       3.

      USI admits, upon information and belief, that Dean Anderson is a resident of

Gwinnett County, Georgia. USI denies the remaining allegations contained in

Paragraph 3 of the Complaint and states that Dean Anderson is currently employed

by USI, which does business, among other places, in Fulton County, Georgia.

                                       4.

      USI admits, upon information and belief, that Roger Maldonado is a resident

of DeKalb County, Georgia.      USI further admits that Roger Maldonado was

formerly employed by USI, which does business, among other places, in Fulton

County, Georgia




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                                          5.

      USI admits on information and belief that USI Advantage Corp. is a

Delaware Corporation.      However, USI is without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in Paragraph 5

of the Complaint. However, to the extent a response is required, the allegations are

denied.

                                          6.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 6 of the Complaint. However, to

the extent a response is required, the allegations are denied.

                                          7.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 7 of the Complaint. However, to

the extent a response is required, the allegations are denied.

                                          8.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8 of the Complaint. However, to

the extent a response is required, the allegations are denied.




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                                          9.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 9 of the Complaint. However, to the

extent a response is required, the allegations are denied.

                                         10.

      USI admits the allegations contained in the Paragraph 10 of the Complaint.

                                         11.

      USI admits that USI is an affiliate of USI Advantage, a separate corporation,

but denies that USI is a predecessor company of USI Advantage.

                                         12.

      Responding to the allegations contained in Paragraph 12 of the Complaint,

USI admits that USI transacts business in the state of Georgia. USI admits that the

contracts at issue in this lawsuit were to be performed in Fulton County, Georgia as

well as elsewhere throughout the United States. Responding to the remaining

allegations contained in Paragraph 12 of the Complaint, USI is currently without

knowledge or information sufficient to form a belief as to the truth of the

allegations.




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                                        13.

      Responding to the allegations contained in Paragraph 13 of the Complaint,

USI does not contest that it is subject to the personal jurisdiction of the Court in

this action, but denies that personal jurisdiction is proper pursuant to O.C.G.A. §

14-2-1501.

                                        14.

      Responding to the allegations contained in Paragraph 14 of the Complaint,

USI states that venue as to USI is proper in this Court in this action pursuant to 28

U.S.C. § 1391, but denies that venue is proper pursuant to O.C.G.A. § 14-2-

510(b)(2).

                                        15.

      Responding to the allegations contained in Paragraph 15 of the Complaint,

USI admits that the Court has jurisdiction over the subject matter of this case

pursuant to 28 U.S.C. 1332(a)(1), but denies that subject matter jurisdiction is

proper pursuant to O.C.G.A. § 9-4-2.

                      Response to General Allegations
                 Response to Plaintiffs’ Employment with USI

                                        16.

      USI admits the allegations contained in the first sentence of Paragraph 16 of

the Complaint and further admits that it has an office and transacts business in
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Fulton County and that Plaintiff Roger Maldonado maintained an office there. USI

denies that Plaintiffs Taylor Anderson and Dean Anderson "were employed" and

states that they are currently employed by USI.

                                        17.

      USI admits the allegations contained in Paragraph 17 of the Complaint.

                                        18.

      In response to the allegations contained in Paragraph 18 of the Complaint,

USI admits that Plaintiffs were employed by Wells Fargo Insurance Services USA,

Inc. ("WFIS") in 2017 and that USI acquired WFIS through a stock purchase

transaction. Plaintiffs later became employees of USI.

                                        19.

      USI admits the allegations contained in Paragraph 19 of the Complaint.

                                        20.

      Responding to the allegations contained in Paragraph 20 of the Complaint,

Defendant admits that the Plaintiffs’ physical office was located at 3475 Piedmont

Rd. NE, Atlanta, Fulton County, Georgia, however Defendant denies the

allegations contained in Paragraph 20 to the extent they imply that USI’s clients

serviced by Plaintiffs were only located in Atlanta, Georgia or that Plaintiffs only

performed services for USI in Atlanta, Georgia.


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             Response to Taylor Anderson’s Employment with USI

                                        21.

      Responding to the allegations contained in Paragraph 21 of the Complaint,

Defendant denies the allegations as stated and admits by way of further response

that Taylor Anderson is currently a Commercial Lines (CL) Producer with USI and

in that capacity his formal job responsibilities include driving new business sales

revenue growth, as well as existing client revenue retention and growth based upon

an assigned book of prospects and clients, and that Taylor Anderson assists certain

USI clients with their aviation insurance needs.

                                        22.

      Responding to the allegations contained in Paragraph 22 of the Complaint,

USI admits that Taylor Anderson is currently a CL Producer with USI and that

Taylor Anderson assists certain USI clients with their aviation insurance needs.

                                        23.

      Responding to the allegations contained in Paragraph 23 of the Complaint,

Defendant admits that certain of USI’s clients require insurance brokers to possess

security clearance, but further states that at this stage in its investigation in the

wake of Taylor Anderson's attempted abrupt resignation, it is without knowledge




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or information sufficient to form a belief as to the truth of the allegations as to how

many of these clients Taylor Anderson serviced.

                                           24.

      USI denies the allegations contained in Paragraph 24 of the Complaint.

                                           25.

      USI denies the allegations contained in the first sentence of Paragraph 25 of

the Complaint. USI is without knowledge or information sufficient to form a

belief as to the truth of the allegations contained in the second sentence of

paragraph 25 as to whether any of USI’s clients paid the expenses associated with

obtaining any necessary security clearance required to service its account.

                                           26.

             Responding to the allegations contained in Paragraph 26 of the

Complaint, USI admits that certain of USI’s clients require insurance brokers to

possess security clearance, but further states that at this stage in its investigation in

the wake of Taylor Anderson's attempted abrupt resignation, it is without

knowledge or information sufficient to form a belief as to the truth of the

allegations as to how many of these clients Taylor Anderson serviced. USI denies

that it cannot meet the needs of its clients.




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                                          27.

       Responding to the allegations contained in Paragraph 27 of the Complaint,

USI admits that certain of USI’s clients require insurance brokers to possess

security clearance, but further states that at this stage in its investigation in the

wake of Taylor Anderson's attempted abrupt resignation, it is without knowledge

or information sufficient to form a belief as to the truth of the allegations as to how

many of these clients Taylor Anderson serviced. USI denies that it cannot meet the

needs of its clients.

              Response to Dean Anderson’s Employment with USI

                                          28.

       Responding to the allegations contained in Paragraph 28 of the Complaint,

USI admits that         Dean Anderson serves as USI's National Practice Leader –

Aviation, and that Dean Anderson has worked for USI and its predecessors for 28

years, but denies that Dean Anderson’s employment with USI has terminated. By

way of further response, USI is without knowledge or information sufficient to

form a belief as to the truth of the allegations contained in Paragraph 28 of the

Complaint to the extent it concerns Dean Anderson prior to his employment with

USI and its predecessors.




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                                        29.

      USI admits that USI's National Aviation Practice Group provides a wide

range of services its clients, including those described in Paragraph 29 of the

Complaint.

                                        30.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 30 of the Complaint.

                                        31.

      USI admits that at the time of his attempted resignation, Dean Anderson led

a team of approximately ten Aviation Insurance/Risk professionals working in the

National Aviation Practice. USI denies that Dean Anderson actually successfully

resigned from his employment with USI and states that Mr. Anderson is current

employee of USI.

               Response to Maldonado’s Employment with USI

                                        32.

      Responding to the allegations contained in Paragraph 32 of the Complaint,

USI admits that Roger Maldonado worked for USI and its predecessors for

approximately 8 years in the National Aviation Practice Group.




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                                        33.

      USI admits that, among other things, Mr. Maldonado's job responsibilities at

USI included developing and maintaining new and existing client relationships on

a national level.

                    Response to TA Employment Agreement

                                        34.

      In response to the allegations contained in the first sentence of Paragraph 34

of the Complaint, USI admits that in conjunction with the closing of the Purchase

Agreement, USI offered Taylor Anderson an at-will position as CL Producer and

that Taylor Anderson     agreed to certain terms and conditions set forth in an

agreement titled “Employment Agreement” (the "TA Employment Agreement").

USI admits the allegations contained in the second sentence of Paragraph 34 of the

Complaint. USI denies any remaining allegations contained in Paragraph 34 of the

Complaint.

                                        35.

      In response to the allegations contained in Paragraph 35 of the Complaint,

USI admits that the employment agreement entered into by Taylor Anderson

places restrictions on his post-employment activities, but USI denies that those

restrictions are “severe” and denies that the TA Employment Agreement only


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“purports” to place restrictions on Taylor Anderson’s post-employment activities.

USI further denies the allegations to the extent they are inconsistent with or

mischaracterize the terms of the agreement which speak for themselves.

                                       36.

      In response to the allegations contained in Paragraph 36 of the Complaint,

USI states that the TA Employment Agreement is a written document which

speaks for itself. USI denies any allegations contained in Paragraph 36 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                       37.

      In response to the allegations contained in Paragraph 37 of the Complaint,

USI states that the TA Employment Agreement is a written document which

speaks for itself. USI denies any allegations contained in Paragraph 37 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                       38.

      In response to the allegations contained in Paragraph 38 of the Complaint,

USI states that the TA Employment Agreement is a written document which

speaks for itself. USI denies any allegations contained in Paragraph 38 of the


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Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                       39.

      In response to the allegations contained in Paragraph 39 of the Complaint,

USI states that the TA Employment Agreement is a written document which

speaks for itself. USI denies any allegations contained in Paragraph 39 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                       40.

      In response to the allegations contained in Paragraph 40 of the Complaint,

USI states that the TA Employment Agreement is a written document which

speaks for itself. USI denies any allegations contained in Paragraph 40 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.

                       Response to The Stock Agreement

                                       41.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 41 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written


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document which speaks for itself.      USI denies any allegations contained in

Paragraph 41 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       42.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 42 of the Complaint. By way of

further response, Defendant USI states that the allegation appears to reference a

written document which speaks for itself. Defendant USI denies any allegations

contained in Paragraph 42 of the Complaint to the extent they are inconsistent with

or mischaracterize the document.

                                       43.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 43 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 43 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.




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                                       44.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 44 of the Complaint. By way of

further response, Defendant USI states that the allegation appears to reference a

written document which speaks for itself. Defendant USI denies any allegations

contained in Paragraph 44 of the Complaint to the extent they are inconsistent with

or mischaracterize the document.

                                       45.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 45 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself. Defendant USI denies any allegations contained

in Paragraph 45 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       46.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 46 of the Complaint. By way of

further response, Defendant USI states that the allegation appears to reference a

written document which speaks for itself. Defendant USI denies any allegations


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contained in Paragraph 46 of the Complaint to the extent they are inconsistent with

or mischaracterize the document.

                                       47.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 47 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 47 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       48.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 48 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 48 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.




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                   Response to DA Employment Agreement

                                        49.

      In response to the allegations contained in the first sentence of Paragraph 49

of the Complaint, Defendant admits that in conjunction with the closing of the

Purchase Agreement, USI offered Dean Anderson an at-will position as National

Practice Leader - Aviation and that Dean Anderson’s agreed to certain terms and

conditions set forth in an agreement title “Employment Agreement” (the "DA

Employment Agreement").       Defendant admits the allegations contained in the

second sentence of Paragraph 49 of the Complaint. Defendant denies any

remaining allegations contained in Paragraph 49 of the Complaint.

                                        50.

      In response to the allegations contained in Paragraph 50 of the Complaint,

Defendant admits that the employment agreement entered into by Dean Anderson

places restrictions on his post-employment activities, but Defendant denies that

those restrictions are “severe” and denies that the DA Employment Agreement

only “purports” to place restrictions on Dean Anderson’s post-employment

activities. USI further denies the allegations to the extent they are inconsistent

with or mischaracterize the terms of the agreement which speak for themselves.




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                                      51.

      In response to the allegations contained in Paragraph 51 of the Complaint,

Defendant states that the DA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 51 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      52.

      In response to the allegations contained in Paragraph 52 of the Complaint,

Defendant states that the DA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 52 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      53.

      In response to the allegations contained in Paragraph 53 of the Complaint,

Defendant states that the DA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 53 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.




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                                      54.

      In response to the allegations contained in Paragraph 54 of the Complaint,

Defendant states that the DA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 54 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      55.

      In response to the allegations contained in Paragraph 55 of the Complaint,

Defendant states that the DA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 55 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      56.

      In response to the allegations contained in Paragraph 56 of the Complaint,

Defendant states that the DA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 56 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.




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             Response to Maldonado’s Confidentiality Agreement

                                        57.

      In response to the allegations contained in the first sentence of Paragraph 57

of the Complaint, Defendant admits only that in conjunction with the closing of the

Purchase Agreement, USI offered Roger Maldonado an at-will position as a Senior

Vice President in the National Aviation Practice Group and that Roger Maldonado

agreed to certain terms and conditions set forth in an agreement titled

“Confidentiality,   Non-Solicitation   &      Non-Interference   Agreement”     (the

"Confidentiality Agreement"). Defendant admits the allegations contained in the

second sentence of Paragraph 57 of the Complaint.           Defendant denies any

remaining allegations contained in Paragraph 57 of the Complaint.

                                        58.

      In response to the allegations contained in Paragraph 58 of the Complaint,

USI admits that the confidentiality agreement entered into by Roger Maldonado

places restrictions on his post-employment activities, but Defendant denies that

those restrictions are “severe” and denies that Maldonado’s Confidentiality

Agreement only “purports” to place restrictions on Roger Maldonado’s post-

employment activities. USI further denies the allegations to the extent they are




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inconsistent with or mischaracterize the terms of the agreement which speak for

themselves.

                                      59.

      In response to the allegations contained in Paragraph 59 of the Complaint,

Defendant states that Maldonado’s Confidentiality Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in

Paragraph 59 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                      60.

      In response to the allegations contained in Paragraph 60 of the Complaint,

Defendant states that Maldonado’s Confidentiality Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in

Paragraph 60 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                      61.

      In response to the allegations contained in Paragraph 61 of the Complaint,

Defendant states that Maldonado’s Confidentiality Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in




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Paragraph 61 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                         62.

      In response to the allegations contained in Paragraph 62 of the Complaint,

Defendant states that Maldonado’s Confidentiality Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in

Paragraph 62 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

        Response to Plaintiffs’ Separation from Employment with USI

                                         63.

      Defendant admits Dean Anderson is the Practice Group Leader in USI's

National Aviation Practice Group and that Roger Maldonado was a leader in the

group during his employment with USI. Defendant further admits that Taylor

Anderson is employed by USI as a Commercial Lines Producer and has worked

closely with the National Aviation Practice Group to provide aviation insurance

services to USI's clients across the country.

                                         64.

      Defendant denies the allegations contained in Paragraph 64 of the

Complaint.


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                                       65.

      USI denies the allegations contained in Paragraph 65 of the Complaint.

                                       66.

      USI denies the allegations contained in Paragraph 66 of the Complaint.

                                       67.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 67 of the Complaint concerning Mr.

Anderson's feelings or perceptions.    USI denies that it had plans to treat its

employees unfairly and denies the remaining allegations contained in Paragraph 67

of the Complaint.

                                       68.

             USI denies the allegations contained in Paragraph 68 of the

Complaint.

                                       69.

      Responding to the allegations contained in Paragraph 69 of the Complaint,

USI admits that Plaintiffs attempted to resign on December 9, 2019, but denies that

Plaintiffs' attempted resignations were based on any valid "issues" and denies that

Dean Anderson and Taylor Anderson's attempted resignations were valid.




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                                       70.

      Upon information and belief, USI admits that Plaintiffs have become

affiliated with the Southeast Series of Lockton Companies, LLC.        Defendant

denies any remaining allegations contained in Paragraph 70 of the Complaint.

                                       71.

      USI denies the allegations contained in Paragraph 71 of the Complaint.

                                       72.

      USI denies the allegations contained in Paragraph 72 of the Complaint.

                                       73.

      USI denies the allegations contained in Paragraph 73 of the Complaint.

                                       74.

      USI denies the allegations contained in Paragraph 74 of the Complaint.

                       Response to Unenforceable
     Customer Non-Solicitation Covenant (TA Employment Agreement)

                                       75.

      Defendant denies the allegations contained in Paragraph 75 of the Complaint

and denies that the TA Agreement is unenforceable. By way of further response,

Defendant states that the TA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 75 of



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the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      76.

      Defendant denies the allegations contained in Paragraph 76 of the Complaint

denies that the TA Agreement is illegal or invalid. By way of further response,

Defendant states that the TA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 76 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      77.

      USI denies the allegations contained in Paragraph 77 of the Complaint and

denies that the TA Agreement is unenforceable or ambiguous. By way of further

response, Defendant states that the TA Employment Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in

Paragraph 77 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.




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                       Response to Unenforceable
            Non-Compete Covenant (TA Employment Agreement)

                                        78.

      USI denies the allegations contained in Paragraph 78 of the Complaint. By

way of further response, USI states that the TA Employment Agreement is a

written document which speaks for itself. USI denies any allegations contained in

Paragraph 78 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                        79.

      USI denies the allegations contained in Paragraph 79 of the Complaint and

denies that the TA Agreement is unenforceable. By way of further response, USI

states that the TA Employment Agreement is a written document which speaks for

itself. USI denies any allegations contained in Paragraph 79 of the Complaint to

the extent they are inconsistent with or mischaracterize the document.

                                        80.

      USI denies the allegations contained in Paragraph 80 of the Complaint and

denies that the TA Agreement is invalid, unreasonable, or unenforceable. By way

of further response, Defendant states that the TA Employment Agreement is a

written document which speaks for itself.       Defendant denies any allegations



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contained in Paragraph 80 of the Complaint to the extent they are inconsistent with

or mischaracterize the document.

                                       81.

      USI denies the allegations contained in Paragraph 81 of the Complaint

denies that the TA Agreement is unenforceable. By way of further response,

Defendant states that the TA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 81 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                          Response to Unenforceable
             Interference Covenant (TA Employment Agreement)

                                       82.

      Defendant denies the allegations contained in Paragraph 82 of the Complaint

and denies that the TA Agreement is illegal or unenforceable. By way of further

response, Defendant states that the TA Employment Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in

Paragraph 82 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.




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                          Response to Unenforceable
             Notice of Termination (TA Employment Agreement)

                                       83.

      Responding to the allegations contained in Paragraph 83 of the Complaint,

Defendant denies that the notice of termination provision at Section 8.2 of the TA

Employment Agreement is illegal and unenforceable. By way of further response,

Defendant states that the TA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 83 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                       84.

      Defendant states that the allegations contained in Paragraph 84 of the

Complaint state legal conclusions that do not require a response from Defendant.

To the extent that a response is required, Defendant denies the allegations

contained in Paragraph 84 of the Complaint.

                                       85.

            Defendant denies the allegations contained in Paragraph 85 of the

Complaint and denies that the covenants in the TA Employment Agreement are

unenforceable.   By way of further response, Defendant states that the TA

Employment Agreement is a written document which speaks for itself. Defendant
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denies any allegations contained in Paragraph 85 of the Complaint to the extent

they are inconsistent with or mischaracterize the document.

                                       86.

      In response to the allegations contained in Paragraph 86 of the Complaint,

Defendant denies that the covenants in the TA Employment Agreement are in

violation of Georgia’s Restrictive Covenant Act.       Defendant states that the

remaining allegations contained in Paragraph 86 of the Complaint state legal

conclusions that do not require a response from Defendant. To the extent that a

response is required, Defendant denies the remaining allegations contained in

Paragraph 86 of the Complaint.

                      Response to Unenforceable
      New York Forum Selection and Choice of Law (Stock Agreement)

                                       87.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 87 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself. Defendant USI denies any allegations contained

in Paragraph 87 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.



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                                       88.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 88 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 88 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.



        Unenforceable Non-Solicitation Covenant (Stock Agreement)

                                       89.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 89 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 89 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       90.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 90 of the Complaint. By way of


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further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 90 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       91.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 91 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 91 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       92.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 92 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 92 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.




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                                       93.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 93 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 93 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                       94.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 94 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written

document which speaks for itself.      USI denies any allegations contained in

Paragraph 94 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

     Response to Unenforceable No Hiring Covenant (Stock Agreement)

                                       95.

      USI is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 95 of the Complaint. By way of

further response, USI states that the allegation appears to reference a written


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document which speaks for itself.         USI denies any allegations contained in

Paragraph 95 of the Complaint to the extent they are inconsistent with or

mischaracterize the document.

                                          96.

USI is without knowledge or information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 96 of the Complaint. By way of further

response, USI states that the allegation appears to reference a written document

which speaks for itself. USI denies any allegations contained in Paragraph 96 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                           Response to Unenforceable
             Non-Competition Covenants (DA Employment Agreement)

                                          97.

          Defendant denies the allegations contained in Paragraph 97 of the Complaint

and Defendant denies that the covenants in the DA Employment Agreement are

unenforceable or violative of Georgia law. By way of further response, Defendant

states that the DA Employment Agreement is a written document which speaks for

itself.     Defendant denies any allegations contained in Paragraph 97 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.
                                         - 34 -
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                                        98.

      Defendant denies the allegations contained in Paragraph 98 of the Complaint

as stated and states that Dean Anderson maintained an office in Atlanta Georgia

and conducted business for USI throughout the United States.

                                        99.

      Defendant denies the allegations contained in Paragraph 99 of the Complaint

and Defendant denies that the covenants in the DA Employment Agreement are

invalid or unenforceable. By way of further response, Defendant states that the

DA Employment Agreement is a written document which speaks for itself.

Defendant denies any allegations contained in Paragraph 99 of the Complaint to

the extent they are inconsistent with or mischaracterize the document.

                                       100.

      Defendant denies the allegations contained in Paragraph 100 of the

Complaint and Defendant denies that the covenants in the DA Employment

Agreement are unenforceable. By way of further response, Defendant states that

the DA Employment Agreement is a written document which speaks for itself.

Defendant denies any allegations contained in Paragraph 100 of the Complaint to

the extent they are inconsistent with or mischaracterize the document.




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                                       101.

          Defendant denies the allegations contained in Paragraph 101 of the

Complaint and Defendant denies that the covenants in the DA Employment

Agreement are invalid or unreasonable. By way of further response, Defendant

states that the DA Employment Agreement is a written document which speaks for

itself.    Defendant denies any allegations contained in Paragraph 101 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.

                             Response to Unenforceable
              Non-Solicitation Covenant (DA Employment Agreement)

                                       102.

          Defendant denies the allegations contained in Paragraph 102 of the

Complaint and Defendant denies that the covenants in the DA Employment

Agreement are unenforceable. By way of further response, Defendant states that

the DA Employment Agreement is a written document which speaks for itself.

Defendant denies any allegations contained in Paragraph 102 of the Complaint to

the extent they are inconsistent with or mischaracterize the document.

                                       103.

          Defendant denies the allegations contained in Paragraph 103 of the

Complaint and Defendant denies that the covenants in the DA Employment
                                       - 36 -
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Agreement are unenforceable. By way of further response, Defendant states that

the DA Employment Agreement is a written document which speaks for itself.

Defendant denies any allegations contained in Paragraph 103 of the Complaint to

the extent they are inconsistent with or mischaracterize the document.

                        Response to Unenforceable
  Non-Interference With Employee Covenant (DA Employment Agreement)

                                       104.

          Defendant denies the allegations contained in Paragraph 104 of the

Complaint and Defendant denies that the covenants in the DA Employment

Agreement are illegal or unenforceable. By way of further response, Defendant

states that the DA Employment Agreement is a written document which speaks for

itself.    Defendant denies any allegations contained in Paragraph 104 of the

Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                       105.

          Defendant denies the allegations contained in Paragraph 105 of the

Complaint. By way of further response, Defendant states that the DA Employment

Agreement is a written document which speaks for itself. Defendant denies any

allegations contained in Paragraph 105 of the Complaint to the extent they are

inconsistent with or mischaracterize the document.
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                          Response to Unenforceable
             Notice of Termination (DA Employment Agreement)

                                      106.

      Responding to the allegations contained in Paragraph 106 of the Complaint,

Defendant denies that the notice of termination provision in Section 8.2 of the DA

Employment Agreement is illegal and unenforceable. By way of further response,

Defendant states that the TA Employment Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 106 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document.

                                      107.

      Defendant states that the allegations contained in Paragraph 107 of the

Complaint state legal conclusions that do not require a response from Defendant.

To the extent that a response is required, Defendant denies the allegations

contained in Paragraph 107 of the Complaint

                                      108.

      Responding to the allegations contained in Paragraph 108 of the Complaint,

Defendant denies that the notice of termination provision in Section 8.2 of the DA

Employment Agreement is in violation of O.C.G.A. § 13-8-53. By way of further

response, Defendant states that the TA Employment Agreement is a written
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document which speaks for itself. Defendant denies any allegations contained in

Paragraph 108 of the Complaint to the extent they are inconsistent with or

mischaracterize the document. Defendant states that the remaining allegations

contained in Paragraph 108 of the Complaint state legal conclusions that do not

require a response from Defendant. To the extent that a response is required,

Defendant denies the remaining allegations contained in Paragraph 108 of the

Complaint.

                                      109.

      Responding to the allegations contained in Paragraph 109 of the Complaint,

Defendant denies that the covenants in the DA Employment Agreement violate

Georgia's Restrictive Covenant Act.   Defendant   states   that   the   remaining

allegations contained in Paragraph 109 of the Complaint state legal conclusions

that do not require a response from Defendant. To the extent that a response is

required, Defendant denies the remaining allegations contained in Paragraph 109

of the Complaint.

                        Response to Unenforceable
    Non-Solicitation Covenant (Maldonado’s Confidentiality Agreement)

                                      110.

      , Defendant denies that the non-solicitation covenant in Section 4.5 of the

Confidentiality Agreement is unenforceable.       By way of further response,
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Defendant states that the Confidentiality Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 110 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document. Defendant states that the remaining allegations contained in Paragraph

110 of the Complaint state legal conclusions that do not require a response from

Defendant.   To the extent that a response is required, Defendant denies the

remaining allegations contained in Paragraph 110 of the Complaint.

                                       111.

      Responding to the allegations contained in Paragraph 111 of the Complaint,

Defendant denies that the non-solicitation covenant contained in Section 4.5 of the

Confidentiality Agreement is too vague and ambiguous.         By way of further

response, Defendant states that the Confidentiality Agreement is a written

document which speaks for itself. Defendant denies any allegations contained in

Paragraph 111 of the Complaint to the extent they are inconsistent with or

mischaracterize the document. Defendant states that the remaining allegations

contained in Paragraph 111 of the Complaint state legal conclusions that do not

require a response from Defendant. To the extent that a response is required,

Defendant denies the remaining allegations contained in Paragraph 111 of the

Complaint.


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                       Response to Unenforceable
    Non-Competition Covenant (Maldonado’s Confidentiality Agreement)

                                      112.

      Responding to the allegations contained in Paragraph 112 of the Complaint,

Defendant denies that the non-competition covenant contained in Section 4.6 of the

Confidentiality Agreement is unenforceable.       By way of further response,

Defendant states that the Confidentiality Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 112 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document. Defendant states that the remaining allegations contained in Paragraph

112 of the Complaint state legal conclusions that do not require a response from

Defendant.   To the extent that a response is required, Defendant denies the

remaining allegations contained in Paragraph 112 of the Complaint.

                                      113.

      Responding to the allegations contained in Paragraph 113 of the Complaint,

Defendant denies that the non-competition covenant contained in Section 4.6 of the

Confidentiality Agreement is unenforceable.       By way of further response,

Defendant states that the Confidentiality Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 113 of

the Complaint to the extent they are inconsistent with or mischaracterize the
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document. Defendant states that the remaining allegations contained in Paragraph

113 of the Complaint state legal conclusions that do not require a response from

Defendant.   To the extent that a response is required, Defendant denies the

remaining allegations contained in Paragraph 113 of the Complaint.

                                      114.

      Responding to the allegations contained in Paragraph 114 of the Complaint,

Defendant denies that the non-compete covenant contained in Section 4.6 of the

Confidentiality Agreement is unenforceable.      By way of further response,

Defendant states that the Confidentiality Agreement is a written document which

speaks for itself. Defendant denies any allegations contained in Paragraph 114 of

the Complaint to the extent they are inconsistent with or mischaracterize the

document. Defendant states that the remaining allegations contained in Paragraph

114 of the Complaint state legal conclusions that do not require a response from

Defendant.   To the extent that a response is required, Defendant denies the

remaining allegations contained in Paragraph 114 of the Complaint.

   Response to Unenforceable Non-Interference With Employee Covenant
                (Maldonado’s Confidentiality Agreement)

                                      115.

      Responding to the allegations contained in Paragraph 115 of the Complaint,

Defendant denies that the non-interference with employee covenant contained in
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Section 4.7 of the Confidentiality Agreement is illegal and unenforceable. By way

of further response, Defendant states that the Confidentiality Agreement is a

written document which speaks for itself.     Defendant denies any allegations

contained in Paragraph 115 of the Complaint to the extent they are inconsistent

with or mischaracterize the document. Defendant states that the remaining

allegations contained in Paragraph 115 of the Complaint state legal conclusions

that do not require a response from Defendant. To the extent that a response is

required, Defendant denies the remaining allegations contained in Paragraph 115

of the Complaint.

                                      116.

      Responding to the allegations contained in Paragraph 116 of the Complaint,

Defendant denies that the non-interference with employee covenant contained in

Section 4.7 of the Confidentiality Agreement is too vague and ambiguous. By way

of further response, Defendant states that the Confidentiality Agreement is a

written document which speaks for itself.     Defendant denies any allegations

contained in Paragraph 116 of the Complaint to the extent they are inconsistent

with or mischaracterize the document. Defendant states that the remaining

allegations contained in Paragraph 116 of the Complaint state legal conclusions

that do not require a response from Defendant. To the extent that a response is


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required, Defendant denies the remaining allegations contained in Paragraph 116

of the Complaint.

                                      117.

      Responding to the allegations contained in Paragraph 117 of the Complaint,

Defendant denies that the covenants in the Confidentiality Agreement violate

Georgia's Restrictive Covenant Act.      Defendant states that the remaining

allegations contained in Paragraph 117 of the Complaint state legal conclusions

that do not require a response from Defendant. To the extent that a response is

required, Defendant denies the remaining allegations contained in Paragraph 117

of the Complaint.

                              Response to
    The Unlawful Covenants Cannot be Salvaged by Judicial Modification

                                      118.

      Defendant states that the allegations contained in Paragraph 118 of the

Complaint state legal conclusions that do not require a response from Defendant.

To the extent that a response is required, Defendant denies the allegations

contained in Paragraph 118 of the Complaint.




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           Response to COUNT I. – DECLARATORY JUDGMENT

                                        119.

      Defendant restates and incorporates its responses to the allegations contained

in Paragraph 1 through 118 of the Complaint as if fully set forth herein.

                                        120.

      Defendant admits the allegations contained in Paragraph 120 of the

Complaint.

                                        121.

      Defendant admits the allegations contained in Paragraph 121 of the

Complaint.

                                        122.

      Defendant denies the allegations contained in Paragraph 122 of the

Complaint.    Defendant further denies that Plaintiffs are entitled to the relief

requested and denies that Plaintiffs are entitled to any judgment.

                                        123.

      Defendant denies the allegations contained in Paragraph 123 of the

Complaint.




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                                        124.

      Defendant denies the allegations contained in Paragraph 124 of the

Complaint.    Defendant further denies that Plaintiffs are entitled to the relief

requested and denies that Plaintiffs are entitled to any judgment.

                          Response to
      COUNT II. – TEMPORARY AND PERMANENT INJUNCTION

                                        125.

      Defendant restates and incorporates its responses to the allegations contained

in Paragraph 1 through 124 of the Complaint as if fully set forth herein.

                                        126.

      Defendant denies the allegations contained in Paragraph 126 of the

Complaint.

                                        127.

      In response to the allegations contained in Paragraph 127 of the Complaint,

Defendant admits that it seeks to enforce covenants against Plaintiffs, but denies

that the covenants it seeks to enforce are unlawful.          Defendant denies the

remaining allegations contained in Paragraph 127 of the Complaint.

                                        128.

      Defendant denies the allegations contained in Paragraph 128 of the

Complaint.
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                                        129.

      Defendant denies the allegations contained in Paragraph 129 of the

Complaint.

                                        130.

      Defendant denies the allegations contained in Paragraph 130 of the

Complaint.

                                        131.

      Defendant denies the allegations contained in Paragraph 131 of the

Complaint.

                                        132.

      Defendant denies the allegations contained in Paragraph 132 of the

Complaint.    Defendant further denies that Plaintiffs are entitled to the relief

requested and denies that Plaintiffs are entitled to any judgment.

                                        133.

      Defendant denies the allegations contained in Paragraph 133 of the

Complaint.    Defendant further denies that Plaintiffs are entitled to the relief

requested and denies that Plaintiffs are entitled to any judgment.




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                                        134.

      Defendant denies the allegations contained in Paragraph 134 of the

Complaint.     Defendant further denies that Plaintiffs are entitled to the relief

requested and denies that Plaintiffs are entitled to any judgment.

                                        135.

      In response to the “WHEREFORE” paragraph of the Complaint, Defendant

denies that Plaintiffs are entitled to any of the relief requested and respectfully

requests that all claims asserted by Plaintiffs be dismissed with prejudice.

                                ****************

      Defendant denies any allegation in the Complaint not expressly admitted

above.

                USI’S AFFIRMATIVE AND OTHER DEFENSES

      Without assuming the burden of proof where it otherwise rests with

Plaintiffs, Defendant sets forth the following affirmative and other defenses:

                                   First Defense

      Plaintiffs’ Complaint fails to state a claim upon which relief can be granted.

                                  Second Defense

      Plaintiffs’ claims are barred by contract.




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                                  Third Defense

      Plaintiffs’ claims are barred by the doctrine of unclean hands.

                                 Fourth Defense

      Plaintiffs’ claims are barred because they have acted in bad faith.

                                   Fifth Defense

      Plaintiffs’ claims fail because the restrictive covenants at issue are

enforceable.

                                  Sixth Defense

      Plaintiffs have not satisfied the necessary criteria to entitle them to

injunctive relief, whether temporary, preliminary, or permanent.

                                 Seventh Defense

      Plaintiffs have not satisfied the necessary criteria to entitle them to

declaratory relief.

                                  Eight Defense

      Plaintiffs’ claims are barred by the doctrine of unclean hands.

                                  Ninth Defense

      Defendant reserves the right to plead other affirmative defenses as they

become known.

                                   *     *      *


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      WHEREFORE, Defendant USI respectfully requests that the Court:

      (a)    Dismiss all claims against Defendant USI with prejudice;

      (b)    Enter judgment in Defendant USI’s favor;

      (c)    Award Defendant USI its costs; and

      (d)    Grant Defendant USI any such other relief as it deems just and proper.


              USI INSURANCE SERVICES LLC’S
     COUNTERCLAIM FOR INJUNCTIVE RELIEF AND DAMAGES

      USI hereby asserts the following Counterclaim for Injunctive Relief and

Damages against Dean Anderson, Taylor Anderson, and Roger Maldonado, and

respectfully states as follows:

                            NATURE OF THE ACTION

      1.     USI brings this action against the Counterclaim Defendants in order to

enforce the Agreements between the Counterclaim Defendants and USI, which the

Counterclaim Defendants have violated and continue to violate.

      2.     The three Counterclaim Defendants are or were employed by USI in

its National Aviation Practice Group, which provides insurance brokerage services

to USI’s clients in the aviation industry. Aviation insurance is a niche area of

insurance that requires experience and knowledge regarding the specialized risks

associated with Aviation.


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      3.     Dean Anderson is the National Practice Head - Aviation for USI. USI

and its predecessors built a team around Dean Anderson to service USI’s clients in

this area.   Roger Maldonado was a Senior Vice President in USI's National

Aviation Practice Group and held key roles in maintaining relationships with

clients, prospects, and insurance companies. Taylor Anderson, Dean Anderson’s

son, is a Commercial Lines ("CL") Producer who also assists USI’s clients in

meeting their Aviation service needs.

      4.     The Counterclaim Defendants carefully orchestrated providing

coordinated notice of their intent to resign their employment from USI,

immediately commenced employment with one of USI’s competitors, and are

breaching their Agreements with USI.

      5.     As explained below, USI seeks injunctive relief enjoining

Counterclaim Defendants Dean Anderson and Taylor Anderson from terminating

their employment with USI until after the expiration of the sixty (60) days written

notice provision within their Agreements and providing that the Andersons remain

employees of USI throughout the duration of this 60-day period, through February

7, 2020; enjoining Counterclaim Defendants Dean Anderson and Taylor Anderson

from competing with USI or taking actions contrary to USI's interests during the

period of time that they remain employed by USI (i.e., through February 7, 2020),


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in violation of their contractual and common law duties of loyalty and fiduciary

duties to USI, including prohibiting them during this time period from providing

services to USI's direct competitor Southeast Series of Lockton Companies, LLC

(the "Lockton Companies") while still employed by USI; enjoining Counterclaim

Defendant Dean Anderson from further violation of his non-competition covenant

that precludes him from being employed by one of USI's competitors in the

restricted geographic area both during the term of his employment for USI (i.e.,

through February 7, 2020) and for a period of six (6) months after the termination

of his employment with USI (i.e., through August 8, 2020); and enjoining all

Counterclaim Defendants from violating their agreements not to compete with USI

with regard to Client Accounts or Active Prospective Client Accounts, as those

terms are defined in the Counterclaim Defendants' contracts, during the remainder

of their employment (in the case of Dean Anderson and Taylor Anderson) and for

a period of two (2) years after the termination of their respective employment with

USI (in the case of all Counterclaim Defendants).

      6.    USI reserves the right to amend this Counterclaim to assert additional

claims against the Counterclaim Defendants as USI might discover.




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                                    PARTIES

      7.      Counterclaim Plaintiff USI Insurance Services LLC is a Delaware

limited liability company registered to do business in Georgia with its principal

place of business located at 100 Summit Lake Drive, Suite 400, Valhalla, NY

10595. USI is a leading insurance brokerage.

      8.      Counterclaim Defendant Dean Anderson is an individual, who, upon

information and belief, resides in the State of Georgia and is domiciled in Georgia.

Upon information and belief, Dean Anderson resides and can be personally served

at 5931 Brundage Lane, Norcross, Gwinnett County, Georgia 30071.

      9.      Counterclaim Defendant Taylor Anderson is an individual, who, upon

information and belief, resides in the State of Georgia and is domiciled in Georgia.

Upon information and belief, Taylor Anderson resides and can be personally

served at 2770 Valvedere Drive NE, Atlanta, DeKalb County, Georgia 30319.

      10.     Counterclaim Defendant Roger Maldonado is an individual, who,

upon information and belief, resides in the State of Georgia and is domiciled in

Georgia.    Upon information and belief, Roger Maldonado resides and can be

personally served at 1371 Briarcliff Road, Atlanta, DeKalb County, Georgia

30306.




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                          JURISDICTION AND VENUE

      11.    Jurisdiction and venue are proper in this Court under the facts and

circumstances set forth herein.

      12.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a)(1) because the matter in controversy exceeds the sum of $75,000.00,

exclusive of interests and costs, there is complete diversity of citizenship, and this

Court has supplemental jurisdiction over the matter pursuant to 28 U.S.C. § 1367.

      13.    The Court has personal jurisdiction over Dean Anderson because he is

a resident of the State of Georgia

      14.    The Court has personal jurisdiction over Taylor Anderson because he

is a resident of the State of Georgia.

      15.    This Court has personal jurisdiction over Roger Maldonado because

he is a resident of the State of Georgia.

      16.    Venue in proper in this District pursuant to 28 U.S.C. § 1441(a).

                          FACTS AND ALLEGATIONS

                               USI Insurance Services

      17.    USI is a full-service risk management and insurance brokerage firm.

USI is one of the largest insurance brokerages in the United States. The insurance




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brokerage business is highly competitive. USI maintains an office in Atlanta,

Georgia located at 3475 Piedmont Rd. NE #800, Atlanta, Georgia 30305.

      18.     A key factor in developing and maintaining clients in the insurance

brokerage industry is the strong relationship developed between the employee and

the client.   Insurance brokerage companies, like USI, invest significantly in

establishing and maintaining strong relationships with their clients.

      19.     USI regularly conducts repeat business with its clients. For example,

when a policy is set to expire, USI works with its client to evaluate renewal

options. USI also works with its clients to identify cross-selling opportunities to

place other types of insurance.

      20.     The insurance brokerage field that USI occupies is an extremely

competitive industry. An important part of USI’s business is the relationships and

goodwill that it forms with its clients. These relations and goodwill are developed

by hiring and training skilled personnel (including Executives and Producers), and

through those Executives and Producers identifying and satisfying client needs and

otherwise developing a solid reputation in the business community.

      21.     USI relies on its Executives and Producers to maintain and enhance

the goodwill of USI with respect to USI’s clients and relationships with

prospective clients.


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      22.    In the course of performing their duties for USI, Executives and

Producers have access to and gain knowledge of confidential information about

USI and its client accounts. USI provided such confidential information about USI

and its clients to the Counterclaim Defendants in this case.

      23.    USI provides its Executives and Producers with significant training

and resources as well as access to USI’s clients. USI provided such training and

resources to the Counterclaim Defendants in this case.

      24.    The Counterclaim Defendants, as Executives and Producers, were

responsible for managing all aspects of client relationships at USI, including

attracting and developing new clients, expanding current client relationships, and

planning, marketing and developing future client opportunities.

      25.    In recognition of the importance of the relationship between employee

and client, it is standard in the insurance brokerage industry to have key employees

execute employment agreements that contain notice provisions, requiring advance

notice before an employee may terminate his or her employment, and non-

solicitation and non-competition covenants.       The notice provision allows the

company the necessary time to transition the servicing of client accounts to another

employee when the original employee announces his or her departure, to hire a

replacement employee if needed, and allows the company to ask the departing


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employee questions regarding the account to ensure a smooth transition to the new

service team member.

      26.    Likewise, the non-solicitation and non-competition covenants provide

the company with the necessary time to transition the business to the new service

team and solidify the client relationship without unfair competition from the

former employee and his or her new employer, and thus allows USI to protect its

substantial investments in its clients and the training it has provided to its

employees.

      27.    Accordingly, in reliance on these restrictions, the company can invest

the resources that allow the new service team member to maintain the company's

client relationship without unfair competition from the departed employee, who

had the benefit of the company's previous investment.

      28.    Consistent with this industry practice, USI generally requires all its

employees who develop and service insurance business to agree to non-solicitation

and non-competition covenants that apply during the term of employment and for

two years after the termination of employment as a condition of their employment

with USI.

      29.    For employees who are often the primary point of contact with USI

clients, USI generally requires those employees to sign employment agreements


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that also contain notice provisions, requiring advance notice if the employee

terminates the employment relationship, as a condition of their employment with

USI.

       30.   Pursuant to a Stock Purchase Agreement (“Purchase Agreement”)

entered into on or about June 2017, USI agreed to purchase all the issued and

outstanding equity interests of Wells Fargo Insurance Services USA, Inc.

(“WFIS”), the corporation where the Counterclaim Defendants were employed. At

the time, WFIS was one of the largest insurance brokerages in the United States.

The purchase transaction closed on or about November 30, 2017. Upon closing,

WFIS was renamed USI Insurance Services National, Inc. (“USIN”), which was

subsequently merged into USI Insurance Services LLC. USI is the successor-in-

interest to WFIS/USIN relating to this matter and to the agreements contained in

Exhibits B, D, and E to the Declaration of Robert Allen ("Allen Decl."), which is

incorporated by reference herein.

                         The Counterclaim Defendants

       31.   Dean Anderson has been employed by USI and its predecessors-in-

interest, including, but not limited to USIN and WFIS, for approximately 28 years.

Dean Anderson holds the position of Senior Vice President, National Practice

Leader - Aviation for USI.          Dean Anderson is highly-knowledgeable and


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experienced in the field of aviation insurance and leads USI's aviation insurance

brokerage practice, which is national in scope. As the National Practice Head,

Dean Anderson works with aviation clients and prospective aviation clients

throughout the United States. Dean Anderson also has knowledge of USI's strategy

in key markets throughout the country. A true and correct copy of Mr. Anderson's

biography is attached to the Allen Declaration as Exhibit A.

      32.   In conjunction with the closing of the Purchase Agreement, USI

offered Dean Anderson an at-will position as National Practice Leader Property &

Casualty (P&C) working out of USI’s office in Atlanta, Georgia. Dean Anderson

accepted the offer and agreed to certain terms and conditions set forth in the DA

Employment Agreement.        A true and correct copy of the DA Employment

Agreement, which Dean Anderson executed and agreed to, is attached to the Allen

Declaration as Exhibit B.

      33.   In connection with his execution of the DA Employment Agreement,

USI agreed to pay Dean Anderson a retention bonus equal to fifty percent (50%) of

his base salary over a period of five (5) years conditioned on his continued

employment with USI.

      34.   Counterclaim Defendant Roger Maldonado was employed by USI and

its predecessors-in-interest, including, but not limited to USIN and WFIS, for


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approximately 8 years. Roger Maldonado was an Aviation Senior Vice President

with responsibilities that included developing new and existing client relationships

on a national level for USI's National Aviation Practice Group. In that capacity,

Roger Maldonado arranged deals with underwriters, was regularly in contact with

USI's clients, and was integral to the structure of USI's aviation insurance program.

A true and correct copy of Roger Maldonado's biography is attached to the Allen

Declaration as Exhibit C.

      35.    In conjunction with the closing of the Purchase Agreement, USI

offered Roger Maldonado an at-will position as Senior Vice President working out

of USI’s office in Atlanta, Georgia. Roger Maldonado accepted USI's offer and

agreed to certain terms and conditions set forth in the RM Employment

Agreement. A true and correct copy of the RM Employment Agreement, which

Roger Maldonado executed and agreed to, is attached to the Allen Declaration as

Exhibit D.

      36.    In connection with Roger Maldonado's execution of the RM

Employment Agreement, USI agreed to pay him a staff retention bonus totaling

$39,560.00 payable in two installments of $19,780.00, with the first installment

paid on December 14, 2018.        Roger Maldonado resigned before the second

installment was due.


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      37.    Both Dean Anderson and Roger Maldonado were responsible for

growth of the National Aviation Practice Group, a Property and Casualty specialty

product line.   Both had knowledge of USI's overall national growth strategy,

actively participated in the marketing and sales process to provide advice and

expertise to clients, and helped identify the products and/or services that would

help meeting the clients' needs. They also utilized the company's resources to

maintain relationships with key clients, prospects, and insurance companies

throughout the United States to develop and maintain the capability to meet the

needs of USI's clients.

      38.    Counterclaim Defendant Taylor Anderson is the son of Dean

Anderson. Taylor Anderson has been employed by USI and its predecessors-in-

interest, including, but not limited to USIN and WFIS, for approximately 9 years

since he was approximately 25 years old. USI and its predecessors gave Taylor

Anderson the training and tools necessary to learn the insurance business and to

service USI's clients.    As an employee of USI, Taylor Anderson serves as a

Commercial Lines ("CL") Producer handling commercial insurance, including

aviation insurance. In that capacity, Taylor Anderson serves USI's aviation client

accounts throughout the United States. Taylor Anderson is knowledgeable about

all account activity for USI's Atlanta-based as well as many accounts based


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elsewhere. Taylor Anderson was frequently brought into USI client relationships

across the country where a Property & Casualty client had a need for aviation-

related insurance.

      39.    In conjunction with the closing of the Purchase Agreement, USI

offered Taylor Anderson an at-will position as CL Producer working out of USI’s

office in Atlanta, Georgia. Taylor Anderson accepted USI's offer and agreed to

certain terms and conditions set forth in the TA Employment Agreement. A true

and correct copy of the TA Employment Agreement is attached to the Allen

Declaration as Exhibit E. The TA Employment Agreement, the DA Employment

Agreement, and the RM Employment Agreement are collectively referred to as the

"Agreements."

      40.    Taylor Anderson serves in a sales position responsible for driving new

business sales revenue growth, as well as existing client revenue retention and

growth based upon an assigned book of prospects and clients.

      41.    Taylor Anderson has received several client accounts and a substantial

book of business from USI that he did not bring with him to the company. For

example, USI recently started the process of re-assigning to Taylor Anderson the

servicing of USI's client accounts previously serviced by a retiring Aviation

Producer with annual commissions totaling approximately $800,000. In addition,


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USI introduced Taylor Anderson to other existing USI clients to handle their

aviation insurance needs.    Overall, Taylor Anderson's total book of business

approximated $2.7 million annually as of December 9, 2019.

      42.   In connection with Taylor Anderson's execution of the TA

Employment Agreement, USI agreed to pay him a producer retention bonus equal

to 90% of the average annual Net Commissions and Fees received by the Company

for Client Accounts assigned and coded to him as the sole originating/selling and

sole servicing employee during a specified three year "Measurement Period,"

conditioned on Taylor Anderson's continued employment with USI.

                                The Agreements

      43.   The Counterclaim Defendants voluntarily entered into the Agreements

with USI and each received substantial compensation as a result of their

employment with USI. By entering into the Agreements, they acknowledged and

agreed that by commencing employment with USI, they received a direct financial

benefit, and other good and valuable consideration.

      44.   Under the terms of the DA Employment Agreement and the TA

Employment Agreement, Dean Anderson and Taylor Anderson owe a duty of

loyalty to USI. Specifically, Section 2.3 of the DA Employment Agreement and

Section 2.4 of the TA Employment Agreement state as follows:


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             Duty of Loyalty. Producer acknowledges a duty of
             loyalty to the Company and agrees to use his/her best
             efforts to faithfully, diligently and completely perform all
             duties and responsibilities hereunder in furtherance of the
             business of any USI Company.

(DA Employment Agreement, § 2.3; TA Employment Agreement, § 2.4.)

      45.    Section 2.3 of the DA Employment Agreement and Section 2.4 of the

TA Employment Agreement shall be referred to collectively herein as the "Duty of

Loyalty Provisions."

      46.    Under the terms of the DA Employment Agreement, Dean Anderson

had the right to terminate his employment with USI subject to Section 8.2, which

stated as follows:

             Termination by Executive. Executive may terminate
             Executive’s employment hereunder by giving at least
             sixty (60) days written notice to the Company. The
             termination of employment shall be effective on the date
             specified in such notice; provided, however, at any time
             following receipt of such notice, the Company may: (a)
             accept Executive’s termination of employment hereunder
             effective on such earlier date specified by the Company;
             and/or (b) require Executive to cease performing any
             services hereunder until the termination of employment.

(DA Employment Agreement, § 8.2.)




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      47.      Under the terms of the TA Employment Agreement, Taylor Anderson

had the right to terminate his employment with USI subject to Section 8.2, which

stated as follows:

               Termination by Producer. Producer may terminate
               Producer’s employment hereunder by giving at least sixty
               (60) days written notice to the Company. The termination
               of employment shall be effective on the date specified in
               such notice; provided, however, at any time following
               receipt of such notice, the Company may: (a) accept
               Producer’s termination of employment hereunder
               effective on such earlier date specified by the Company;
               and/or (b) require Producer to cease performing any
               services hereunder until the termination of employment.

(TA Employment Agreement, § 8.2.)

      48.      Section 8.2 of the DA Employment Agreement and Section 8.2 of the

TA Employment Agreement shall be referred to collectively herein as the "Notice

Provisions."

      49.      In exchange for employment by USI and other good and valuable

consideration, Dean Anderson agreed not to compete against USI during the term

of his employment and for six months thereafter within a specified “Restricted

Geographic Area."

      50.      In Section 7.5 of the DA Employment Agreement, Dean Anderson

specifically agreed to the following:


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     Non-Competition. In consideration of Executive’s
     employment hereunder, and for other good and valuable
     consideration, Executive agreed, during the Term and for
     six (6) months after Executive is no longer employed
     hereunder, for any reason, Executive shall not, directly or
     indirectly, compete with the Company within the
     Restricted Geographic Area by: (a) acting in Executive’s
     same or similar capacity, which Executive acted for the
     Company, on behalf of any Competitive Business; (b)
     performing Executive’s same or similar functions, which
     Executive performed for the Company, on behalf of any
     Competitive Business; or (c) otherwise taking,
     facilitating or encouraging any action to evade or attempt
     to evade the intent of this Section; provided, however,
     that in the event Executive’s employment hereunder is
     terminated by the Company without Cause within twelve
     (12) months following the Effective Date, then the
     restrictions in this Section 7.5 (Non-Competition) shall
     be void and of no further force or effect. “Restricted
     Geographic Area” means each of the following separate
     and divisible geographic areas: (a) the state in which
     Executive maintained his/her principal office for the
     Company during the last twelve (12) months of
     Executive’s employment hereunder; (b) a one hundred
     (100) mile radius from any Company facility in which
     Executive maintained an office during the last twelve
     (12) months of Executive’s employment hereunder; (c)
     any territory to which Executive has been assigned
     during the last twelve (12) months of Executive’s
     employment hereunder, and (d) any area in the United
     States where the Company has conducted USI Business
     during the last twelve (12) months of Executive’s
     employment hereunder. Notwithstanding the foregoing,
     in the event that (i) Executive terminates Executive’s
     employment hereunder pursuant to Section 8.2
     (Termination by Executive) within twelve (12) months
     following the Effective Date (a “Voluntary
     Termination Event”) and (ii) the Company does not,
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             within fifteen (15) business days of the Company’s
             receipt of Executive’s notice of termination (the
             “Election Period”), notify Executive of the Company’s
             election to enforce this Section 7.5 (Non-Competition),
             then, following the later of (1) the effective date of such
             Voluntary Termination Event or (2) the end of the
             Election Period, this Section 7.5 (Non-Competition) shall
             be void and of no further force or effect. For the
             avoidance of doubt, any such election shall be made at
             the Company’s sole discretion and in the event the
             Company elects, within the Election Period, to enforce
             this Section 7.5 (Non-Competition) (such election, the
             “Non-Compete Election”), then this Section 7.5 (Non-
             Competition) shall remain fully enforceable against
             Executive and Executive shall be entitled to the payments
             set forth in Section 8.3(F). Also, for the avoidance of
             doubt, the covenants set forth in this Section 7.5 shall
             remain in force for any termination hereunder, except as
             expressly stated in this Section 7.5.

(DA Employment Agreement, § 7.5.)

      51.    Section 7.5 of the DA Employment Agreement shall be referred to

herein as the "Non-Compete Covenant."

      52.    Further, in exchange for employment by USI and other good and

valuable consideration, the Counterclaim Defendants also agreed not to compete

against USI during their terms of employment and for a two-year period thereafter.

      53.    In Section 7.6 of the DA Employment Agreement, Dean Anderson

specifically agreed to the following:




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            Non-Competition of Client Accounts. During the Term
            and for (2) years after Executive is no longer employed
            hereunder, for any reason, Executive shall refrain from
            carrying on any business in competition with the
            Company, directly or indirectly, with respect to any
            Client Account or Active Prospective Client in the
            Restricted Geographic Area. “Carrying on any business
            in competition with the Company” shall mean the sale
            of or providing any product or service that competes, or
            is reasonably anticipated to compete, in the same
            markets, with a product or service of the Company as to
            which Executive had a role in the sale, marketing,
            distribution, or development in the last two (2) years of
            Executive’s employment with the Company or about
            which Executive acquired Confidential Information. It is
            expressly agreed that this Section 7.6 is not intended to
            restrict or prohibit the ownership by Executive of stock
            or other securities of a publicly-held corporation in which
            Executive (a) does not possess beneficial ownership of
            more than five percent (5%) of the voting capital stock of
            such corporation and (b) does not participate in any
            management or advisory capacity.

(DA Employment Agreement, § 7.6.)

      54.   Similarly, in Section 4.6 of the RM Employment Agreement and

Section 7.6 of the TA Employment Agreement, Roger Maldonado and Taylor

Anderson, respectively, specifically agreed to the following:

            Non-Competition With Respect to Client Accounts and
            Active Prospective Clients. In consideration of
            [Employee/Producer’s] employment hereunder, and for
            other    good     and     valuable     consideration,

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     [Employee/Producer]           agrees      that,      during
     [Employee/Producer’s employment with the Company]
     and for two (2) years after [Employee/Producer] is no
     longer employed with the Company, for any reason,
     [Employee/Producer] will refrain from carrying on any
     business in competition with the Company, directly or
     indirectly, with respect to any Client Account or Active
     Prospective Client in the Geographic Area. “Carrying
     on any business in competition with the Company”
     shall mean the sale of or providing any product or service
     that competes, or is reasonably anticipated to compete, in
     the same markets, with a product or service of the
     Company as to which [Employee/Producer] had a role in
     the sale, marketing, distribution, or development in the
     last two (2) years of [Employee/Producer’s employment
     with the Company,] or about which [Employee/Producer]
     acquired Confidential Information. For purposes of this
     Section . . ., the term “Geographic Area” shall include
     any territory within a one hundred (100) mile radius of
     any Company facility in which [Employee/Producer]
     maintained an office during the last twelve (12) months
     of [Employee/Producer’s] employment hereunder,
     including any counties in the Geographic Area in which
     [Employee/Producer] conducted business or where Client
     Accounts or Active Prospective Clients with whom
     [Employee/Producer] had material contact in the two (2)
     years prior to termination of [Employee/Producer’s
     employment with the Company] are present. It is
     expressly agreed that this Section . . . is not intended to
     restrict     or      prohibit     the    ownership       by
     [Employee/Producer] of stock or other securities of a
     publicly-held corporation in which [Employee/Producer]
     (a) does not possess beneficial ownership of more than
     five percent (5%) of the voting capital stock of such


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             corporation and (b) does not participate in any
             management or advisory capacity.

(RM Employment Agreement, § 4.6; TA Employment Agreement, § 7.6.)

      55.    Section 7.6 of the DA Employment Agreement, Section 7.6 of the TA

Employment Agreement, and Section 4.6 of the RM Employment Agreement shall

be referred to herein collectively as the "Client Non-Compete Covenants."

      56.    Finally, in exchange for employment by USI and other good and

valuable consideration, the Counterclaim Defendants also agreed not to solicit

clients and active prospective clients of USI during their terms of employment and

for a two-year period thereafter.

      57.    In Section 7.7 of the DA Employment Agreement and Section 7.5 of

the TA Employment Agreement, Dean Anderson and Taylor Anderson,

respectively, agreed to refrain from soliciting any Client Account or Active

Prospective Client. Specifically, Dean Anderson and Taylor Anderson agreed that:

             Non-Solicitation of Clients and Active Prospective Clients. In
             consideration    of    [Executive's/Producer's]   employment
             hereunder, and for other good and valuable consideration,
             [Executive/Producer] agrees that:

             (a) During the Term and for two (2) years after
             [Executive/Producer] is no longer employed hereunder, for any
             reason, [Executive/Producer] shall not, without the Company's
             prior written consent, directly or indirectly, on behalf of any
             Competitive Business in any capacity: (i) solicit or attempt to

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           solicit services in competition with the Company to any Client
           Account; (ii) divert or attempt to divert services away from the
           Company with respect to any Client Account; (iii) consult for
           any Client Account with respect to services in competition with
           the Company; (iv) sign a broker of record letter with any Client
           Account to provide services in competition with the Company;
           or (v) induce the termination, cancellation or non-renewal of
           any Client Account; in each case with respect to any Client
           Account that [Executive/Producer] managed or regularly
           serviced and/or about which [Executive/Producer] obtained
           Confidential Information on behalf of the Company within the
           last two (2) years of [Executive's/Producer's] employment
           hereunder.

           (b) During the Term and for six (6) months after
           [Executive/Producer] is no longer employed hereunder, for any
           reason, [Executive/Producer] shall not, without the Company's
           prior written consent, directly or indirectly, on behalf of any
           Competitive Business in any capacity: (i) solicit or attempt to
           solicit services in competition with the Company to any Active
           Prospective Client; (ii) divert or attempt to divert services away
           from the Company with respect to any Active Prospective
           Client; (iii) consult for any Active Prospective Client with
           respect to services in competition with the Company; or (iv)
           sign a broker of record letter with any Active Prospective Client
           to provide services in competition with the Company; in each
           case with respect to any Active Prospective Client that
           [Executive/Producer]       solicited    and/or     about     which
           [Executive/Producer] obtained Confidential Information on
           behalf of the Company within the last six (6) months of
           [Executive's/Producer's] employment hereunder.

(DA Employment Agreement, § 7.7; TA Employment Agreement, § 7.5.)




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      58.   Similarly, in Section 4.5 of the RM Employment Agreement, Ryan

Maldonado agreed to refrain from soliciting any Client Account or Active

Prospective Client. Specifically, Ryan Maldonado agreed that:

      Non-Solicitation of Clients and Active Prospective Clients.         In
      consideration of Employee's employment with the Company, and for other
      good and valuable consideration, Employee agrees that:

      (a) During Employee's employment with the Company and for two (2)
      years after Employee is no longer employed with the Company, for any
      reason, Employee shall not, without the Company's prior written consent,
      directly or indirectly, on behalf of any Competitive Business in any capacity:
      (i) solicit or attempt to solicit services in competition with the Company to
      any Client Account; (ii) divert or attempt to divert services away from the
      Company with respect to any Client Account; (iii) consult for any Client
      Account with respect to services in competition with the Company; (iv) sign
      a broker of record letter with any Client Account to provide services in
      competition with the Company; or (v) induce the termination, cancellation or
      non-renewal of any Client Account; in each case with respect to any Client
      Account that Employee managed or regularly serviced and/or about which
      Employee obtained confidential information on behalf of the Company
      within the last two (2) years of Employee's employment with the Company.

      (b) During Employee's employment with the Company and for six (6)
      months after Employee is no longer employed with the Company, for any
      reason, Employee shall not, without the Company's prior written consent,
      directly or indirectly, on behalf of any Competitive Business in any capacity:
      (i) solicit or attempt to solicit services in competition with the Company to
      any Active Prospective Client; (ii) divert or attempt to divert services away
      from the Company with respect to any Active Prospective Client; (iii)
      consult with any Active Prospective Client with respect to services in
      competition with the Company; or (iv) sign a broker of record letter with any
      Active Prospective Client to provide services in competition with the
      Company; in each case with respect to any Active Prospective Client that
      Employee solicited and/or about which Employee obtained Confidential


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      Information on behalf of the Company within the last six (6) months of
      Employee's employment with the Company.

(RM Employment Agreement, § 4.5.)

      59.    Section 7.7 of the DA Employment Agreement, Section 7.5 of the TA

Employment Agreement, and Section 4.5 of the RM Employment Agreement shall

be referred to herein collectively as the "Non-Solicitation Covenants."

      60.    In the Agreements, the Counterclaim Defendants have expressly

agreed that the time and scope of the covenants contained in the Agreements were

reasonable and necessary to protect USI’s confidential information and goodwill

with respect to its Client Accounts. (See DA Employment Agreement, § 7.9; TA

Employment Agreement, § 7.8; RM Employment Agreement, § 4.8.)

                         USI's National Aviation Practice

      61.    Aviation insurance is a specialized niche in the insurance world. It

requires knowledge of the unique risks inherent to aviation.

      62.    USI's Aviation group assists clients with obtaining insurance for a

wide range of aviation expenses, such as airport liability, aircraft hull and liability,

flight school rights, unmanned aircraft systems, and numerous other risks uniquely

encountered in aviation. USI's Aviation group provides a variety of services,

including loss of control, claims management, contract review, advanced risk

financing, industry updates, and planning for successful coverage renewals.
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      63.      USI and its predecessors have devoted substantial resources to

supporting the Aviation group to allow its members to service USI's clients and

maintain and strengthen client relationships.       Over the years, USI and its

predecessors have built a team of ten (10) employees to service USI's clients.

      64.      In their role as long-time employees, the Counterclaim Defendants

have had access to and received a substantial volume of USI's confidential

information and trade secrets.

      65.      The Counterclaim Defendants have received access to a substantial

volume of other information regarding USI's business operations and business

strategy.

      66.      All of the foregoing confidential information is valuable to the

business of USI and could be used by competitors for their benefit, and to the

detriment of USI.

      67.      The Counterclaim Defendants have substantial relationships with

prospective and existing clients of USI, customarily and regularly solicit for USI

clients and prospective clients, and customarily and regularly engage in making

sales or obtaining orders or contracts for products or services to be performed by

others.




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      68.   During their employment at USI, each of the Counterclaim

Defendants have been employees who, by reason of USI's investment of time,

training, money, trust, exposure to the public, or exposure to clients and other

business relationships during the course of their employment with USI, have

gained a high level of notoriety, fame, reputation, or public persona as USI's

representatives and spokespersons and have gained a high level of influence or

credibility with USI's clients and other business relationships.     Each of the

Counterclaim Defendants are also in possession of selective or specialized skills,

learning, or abilities and customer contacts and customer information and have

obtained such skills, learning, abilities, contacts, and information by reason of

having worked for USI.

      The Counterclaim Defendants' Improper Attempted Terminations
                             Without Notice

      69.   On December 9, 2019, without providing any advance notice, the

Counterclaim Defendants abruptly and unexpectedly attempted to terminate their

employment with USI, effective immediately. A true and correct copy of Dean

Anderson’s purported letter of resignation that he submitted on December 9, 2019

to Rob Myers, Senior Vice President/Property Casualty Leader for USI, is attached

to the Allen Declaration as Exhibit F.         A true and correct copy of Roger

Maldonado's letter of resignation that he submitted on December 9, 2019 to Dean
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Anderson, National Practice Leader P&C at USI, is attached to the Allen

Declaration as Exhibit G. A true and correct copy of Taylor Anderson's purported

letter of resignation that he submitted on December 9, 2019 to Robert Allen, P&C

Practice Leader at USI, is attached to the Allen Declaration as Exhibit H. The

Counterclaim Defendants' letters are referred to herein collectively as the "Letters."

      70.    Pursuant to the Letters, the Counterclaim Defendants' resignations

were purported to be effective immediately, notwithstanding the notice

requirements in the contracts of both Dean Anderson and Taylor Anderson.

      71.    The Counterclaim Defendants' resignations were clearly planned in

advance and coordinated. They occurred within minutes of each other, and the

letters of resignation used nearly identical language.         Further, each of the

Counterclaim Defendants was represented by the same attorney, who, on

information and belief, was present in USI's building at the time the resignations

occurred.    At or before the time they submitted the Letters to USI, the

Counterclaim Defendants each sent nearly identical notices to clients of USI

informing them of their immediate departure.

      72.    In connection with his resignation, Roger Maldonado sent an e-mail to

many of USI’s aviation clients informing them of his resignation from USI,

including two people (Rich Enderle and Rob Dodson) with USI client, Arista


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Aviation Services, an affiliate of Brightwater Partners. A true and correct copy of

Roger Maldonado’s December 9, 2019 email to USI's clients is attached to the

Allen Declaration as Exhibit I.

      73.       In connection with his attempted resignation, Taylor Anderson sent an

e-mail to certain of USI’s clients, including several people with USI client, Tenax

Aerospace: Abbie Rushing, Linda Jagger, Lisa Barefoot, and Tim Cantrell; David

Sosa, the Principal of USI client, Brightwater Partners; at least two people with

USI client, Arista Aviation Services, an affiliate of Brightwater Capital; several

people at USI client, In-Flight Crew Connections, LLC, including Jennifer Guthrie,

Irena Leigh, and Bryan Smith; and Chris Crutchfield and another individual at USI

client Rally Point Management, LLC.               A true and correct copy of Taylor

Anderson’s December 9, 2019 email to clients is attached to the Allen Declaration

as Exhibit J.

      74.       In connection with his attempted resignation, Dean Anderson also sent

an e-mail to certain of USI's clients, including two people at USI client, In-Flight

Crew Connections, LLC, Jennifer Guthrie and Irena Leigh. A true and correct

copy of Dean Anderson's December 9, 2019 email to clients is attached to the

Allen Declaration as Exhibit K.




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      75.    USI did not consent to or instruct the Counterclaim Defendants to

send these emails to its clients. The Counterclaim Defendants likely contacted

USI's clients only to disrupt USI's business, and to capitalize on that disruption to

try to induce USI's clients to move their accounts to the Lockton Companies, and

in an effort to improperly solicit the business of those clients on behalf of the

Lockton Companies.

      76.    On information and belief, Dean Anderson also contacted two client

contacts with one of USI's municipal clients, on December 6, 2019, the business

day before he attempted to resign.

      77.    At or before the time the Counterclaim Defendants submitted the

Letters to USI, they updated their LinkedIn information to announce that they were

affiliating with Southeast Series of Lockton Companies, LLC (the "Lockton

Companies"), a direct competitor of USI. Dean Anderson immediately listed his

new position on LinkedIn as “Senior Vice President & Aviation Practice Leader at

Lockton Companies SE Series.” Roger Maldonado listed his new position on

LinkedIn as “Senior Vice President, Producer at Lockton Companies.” Taylor

Anderson immediately listed his new position on LinkedIn as “Senior Vice

President, Defense & Aerospace at Lockton Companies.” True and correct copies

of screen shots of Dean Anderson, Roger Maldonado, and Taylor Anderson's


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LinkedIn profiles as of December 9, 2019 are collectively attached to the Allen

Declaration as Exhibit L. These positions are substantially similar to the positions

Dean Anderson and Taylor Anderson currently hold and that Roger Maldonado

previously held at USI. The Counterclaim Defendants are believed to be working

in the Atlanta office of the Lockton Companies and will be doing business on its

behalf in the Atlanta area, elsewhere in the Southeast, and likely nationally. Each

of the Counterclaim Defendants have resided in Atlanta for an extended period,

have established themselves both personally and professionally in Atlanta, and

have indicated no intention of relocating from Atlanta.

      78.   Following their attempted resignations, the Counterclaim Defendants

have not returned to work for USI. However, with respect to Dean Anderson and

Taylor Anderson, USI has taken and continues to take the position that their

employment has not been validly or properly terminated because the letters of

resignation were provided without the proper notice. USI does not accept Dean

Anderson's or Taylor Anderson's purported immediate resignations and continues

to pay them as current employees and intends to do so through and including

February 7, 2020. For Dean Anderson and Taylor Anderson, their obligations

under the Agreements as current employees remain in effect through and including

February 7, 2020, their last day of employment with USI. For Dean Anderson and


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Taylor Anderson, their post-termination obligations under the Agreements start as

of February 8, 2020. For Roger Maldonado, his post-termination obligations under

the Agreements started on December 9, 2019.

      79.    Both prior to and since attempting to resign their employment from

USI, the Counterclaim Defendants have been actively working in a capacity that is

directly competitive to the business of USI.

      80.    As one example, rather than renewing Brightwater Partners' policy

when it was up for renewal on November 8, 2019, the Counterclaim Defendants

only extended the term of the policy by thirty (30) days. Roger Maldonado gave

the instruction to bind the short-term extension. This activity was outside the

ordinary behavior typical for how Mr. Maldonado would handle the renewal of a

policy for a USI client. The Counterclaim Defendants likely extended the renewal

so that they could transition the account to their new employer, the Lockton

Companies, after their resignations became effective.

      81.    On December 17, 2019, USI received a broker of record change letter

dated December 11, 2019 providing notice that Brightwater Capital, Arista

Aviation Services and their affiliates were transferring their entire insurance

brokerage relationship away from USI to the Lockton Companies. A true and




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correct copy of the broker of record change letter is attached to the Allen

Declaration as Exhibit M.

      82.    On or about December 17, 2019, USI also received a broker of record

change letter providing notice that In-Flight Crew Connections, LLC, one of the

companies contacted by both Dean Anderson and Taylor Anderson, was

transferring its account away from USI, likely to the Lockton Companies. A true

and correct copy of the broker of record change letter is attached to the Allen

Declaration as Exhibit N.

      83.    On December 17, 2019, USI also received a broker of record change

letter providing notice that Rally Point Management, one of the companies

contacted by Taylor Anderson, was transferring its account away from USI to the

Lockton Companies. A true and correct copy of the broker of record change letter

is attached to the Allen Declaration as Exhibit O.

      84.    Since the Counterclaim Defendants' departures from USI, some of

USI's larger aviation clients either have not been responsive to communications

from USI, expressed concern that USI no longer had the capacity to handle their

accounts, or provided USI with a list of items to complete in a very short time

frame. The lists provided by the clients contained items that were not on the open

items lists provided by the Counterclaim Defendants in the Letters.


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      85.      With one exception, every team member from USI's National

Aviation Practice Group has been contacted by Janet Shulman, the in-house

recruiter at the Lockton Companies, during the time period from October 2019

through the present. Ms. Shulman informed the USI employees, in substance, that

there would be substantial departures on the team and that the Lockton Companies

was expanding its aviation business. In the wake of the Counterclaim Defendants'

announcements of their departures, two additional employees working in USI's

National Aviation Practice Group have informed USI that they are resigning to

accept employment with the Lockton Companies. These two employees, Rikin

Patel and Kimberly Grier, worked closely with the Counterclaim Defendants and

served important support roles in servicing the clients of USI's National Aviation

Practice Group. Ms. Grier was an Account Executive who was skilled in client

strategy.     Mr. Patel, who was in USI's training program, was responsible for

creating the business plan for USI's National Aviation Practice Group and gained a

detailed knowledge of the practice group. The departure of these two employees

has further disrupted USI's ability to service its clients' accounts. In fact, these two

employees are listed in the Letters as being responsible or capable of handling

near-term needs of USI's clients in the wake of the Counterclaim Defendants'

departures.


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      86.    A current employee of USI's National Aviation Practice Group has

indicated that when she was contacted by the Lockton Company's internal recruiter

in October 2019, she reported the call to Dean Anderson and Mr. Anderson told

her she should call the recruiter back because her job was in jeopardy and he could

not assure her that she would still have a job at USI at the end of the year.

      87.    According to the employee, several months before his resignation,

Dean Anderson made it known to his team that he would be leaving USI,

purposely giving employees the impression that their jobs were in jeopardy.

Irreparable Harm to USI Caused by the Counterclaim Defendants' Attempted
                              Resignations

      88.    The provisions within the DA Employment Agreement and the TA

Employment Agreement that require Dean Anderson and Taylor Anderson

respectively, to provide sixty (60) days' notice prior to termination are necessary to

allow an orderly transition for USI prior to their departure. The sixty (60) day

notice period contained within the DA Employment Agreement and the TA

Employment Agreement is especially important in the context of aviation

insurance because the members of USI's National Aviation Practice Group have

specialized knowledge that is not easily replicable from others within the company.

      89.    USI needs employees to remain employed during the sixty (60) day

period so that they can provide a complete work list of all items that need to be
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addressed for USI's clients and to allow USI to recruit, reassign, or otherwise get

other employees up to speed on the client accounts handled by the departing

employees. The Counterclaim Defendants did not adequately transition their work

prior to abandoning employment with USI, which risks substantial harm to USI

and USI's clients.

      90.    USI is currently servicing over 140 aviation accounts with varying

and unique needs.       Employee departures without providing sufficient notice

hinders USI's ability to compile a compete active open list of items for clients so

that it may continue to service its clients effectively.

      91.    The end of the calendar year is a particularly sensitive time for

employee departures to disrupt client relationships in the insurance brokerage

industry because clients are in the process of renewing their insurance coverage

and because clients are preparing to be away from the office for the holidays.

      92.    The Counterclaim Defendants' purported resignation letters contain a

few examples of upcoming needs of client accounts, but the lists are far from

complete. The lists do not include all upcoming needs nor do they propose a

reasonable solution for addressing those needs. Just one example of the many

inadequacies with the partial list is that Dean Anderson points to Roger Maldonado

as being able to handle certain open client items listed in his letter, with full


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knowledge that Roger Maldonado would be resigning simultaneously in the

Counterclaim Defendants' coordinated departure.         USI is in the process of

reviewing the client accounts to ensure that it can meet its clients' needs. The

process is exponentially more difficult without having the ability to get information

from the Counterclaim Defendants.

       93.    The Counterclaim Defendants' emails notifying clients of their

purported abrupt resignations have caused certain clients to reach out to USI out of

concern regarding how their accounts will be handled. Fielding these inquiries

caused by the Counterclaim Defendants' improper communication with USI's

clients regarding their abrupt purported resignations takes time away from

reviewing the accounts to determine upcoming deadlines and time sensitive needs

of clients.

       94.    Causing this disruption was likely all part of the Counterclaim

Defendants' coordinated plan to accept employment with a competitor and to try to

induce USI's clients to transfer their accounts to the Lockton Companies so that the

Counterclaim Defendants could reap substantial compensation for bringing the

clients to the Lockton Companies.

       95.    Because the aviation insurance brokerage business is a very small and

specialized niche area of the insurance market, few individuals have knowledge of


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and experience with this business. USI will have substantial difficulty finding

immediate replacements for the Counterclaim Defendants, but would have been

more likely to have accomplished this if given the benefit of the 60-day notice

requirement in Dean Anderson's and Taylor Anderson's contracts.

       96.    By virtue of their conduct, the Counterclaim Defendants have directly

violated their non-competition covenants to USI as set forth in the Agreements,

and Dean Anderson and Taylor Anderson have violated their notice requirements

and certain other of their duties as current employees set forth in the Agreements.

       97.    The Counterclaim Defendants’ improper competition has caused, and

threatens to cause, USI substantial harm. Among other damages, the Counterclaim

Defendants’ conduct substantially risks undermining and damaging USI’s goodwill

from its employees, clients, and potential clients.          Further, the Counterclaim

Defendants’ attempted departures have created significant disruption in USI’s

ability to service its accounts for its accounts for its aviation clients.

       98.    The Counterclaim Defendants agreed in the Agreements that the

services they rendered to USI were of a "special, unique, and extraordinary

character" and that it would be "extremely difficult or impracticable to replace such

services" and that any breach of the restrictive covenants contained in the

Agreements would "result in irreparable harm to [USI] for which money damages


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alone would not be adequate compensation." The Counterclaim Defendants agreed

that USI would be entitled to equitable relief, including, without limitation a

temporary and permanent injunction. (DA Employment Agreement, § 9; RM

Employment Agreement, § 5; TA Employment Agreement, § 9.)

        99.   If the Counterclaim Defendants are not enjoined from their unfair

competition, USI will continue to suffer continuing, additional, and irreparable

harm.

                         USI's Code of Business Conduct

        100. As employees of USI, the Counterclaim Defendants are, in the case of

the Dean Anderson and Taylor Anderson, and were, in the case of Roger

Maldonado, obligated to comply with the USI Code of Business Conduct (the

"Business Code"), a true and correct copy of which is attached to the Allen

Declaration as Exhibit P. The Business Code specifically provides that employees

must not work for another organization while employed by USI if a conflict of

interest exists, or creates an appearance of a conflict, or if such employment

interferes with their responsibilities as a USI employee.     (Business Code, §

III(A)(3).)




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      101. The Business Code also required USI employees to avoid any kind of

conflict, or an appearance of impropriety, between their personal interests and

those of USI. (Id., § III(A).)

      102. Each employee, including the Counterclaim Defendants, executed an

electronic acknowledgment that they agreed to the Business Code.

                          COUNT ONE:
       BREACH OF NOTICE PROVISIONS OF THE AGREEMENTS
                (Dean Anderson and Taylor Anderson)

      103. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      104. The Notice Provisions, contained in Section 8.2 of the DA

Employment Agreement and Section 8.2 of the TA Employment Agreement, are

reasonable and necessary to protect the legitimate business interests of USI.

      105. As set forth above, in the Notice Provisions, Counterclaim Defendants

Dean Anderson and Taylor Anderson agreed to provide sixty (60) days' advance

written notice to USI prior to terminating their employment.

      106. Through the conduct described above, Counterclaim Defendants Dean

Anderson and Taylor Anderson have directly violated these provisions within the

Agreements by submitting letters of resignation to USI on December 9, 2019 that

purported to be effective immediately.

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      107. Further, Counterclaim Defendants Dean Anderson and Taylor

Anderson also breached the Notice Provisions by accepting employment with the

Lockton Companies, a direct competitor of USI; competing against USI with

respect to USI's Client Accounts and Active Prospective Clients, and taking other

actions contrary to USI's interest during the time period when they were still

employees of USI.

      108. Counterclaim Defendants Dean Anderson and Taylor Anderson's

conduct constitutes a breach of numerous additional sections of the DA

Employment Agreement and the TA Employment Agreement, including the

section prohibiting conflicts of interest (DA Employment Agreement, § 2.2; TA

Employment Agreement, § 2.3) and the section establishing a duty of loyalty (DA

Employment Agreement, § 2.3; TA Employment Agreement, § 2.4.)

      109. By virtue of this conduct, Counterclaim Defendants Dean Anderson

and Taylor Anderson have breached and continue to breach the Notice Provisions

along with other related provisions within the DA Employment Agreement and the

TA Employment Agreement.

      110. As a result of Counterclaim Defendants Dean Anderson and Taylor

Anderson’s breaches of the Agreements, USI has suffered, and is likely to continue

to suffer, substantial injury, including in the form of significant disruption in its


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ability to service its accounts for its aviation clients, lost business opportunities,

lost profits, and damage to USI’s goodwill from its employees, clients, and

potential clients.

       111. Accordingly, USI is entitled to preliminary and permanent injunctive

relief prohibiting Counterclaim Defendants Dean Anderson and Taylor Anderson

from continuing to breach the Notice Provisions and requiring them to continue

their employment with USI for sixty (60) days from the date they submitted their

purported letters of resignation, and to monetary damages for the damages caused

to USI by these breaches.

                        COUNT TWO
       BREACH OF THE NON-COMPETE COVENANT OF THE DA
                  EMPLOYMENT AGREEMENT
                       (Dean Anderson)

       112. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

       113. The Non-Compete Covenant, contained in Section 7.5 of the DA

Employment Agreement, is reasonable and necessary to protect the legitimate

business interests of USI.

       114. As set forth above, in the Non-Compete Covenant, Dean Anderson

agreed not to compete with USI by acting in a similar capacity on behalf of a


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Competitive Business or performing similar functions on behalf of a Competitive

Business within the Restricted Geographic Area during the term of his employment

with USI (through February 7, 2020) and for six months thereafter (from February

8, 2020 through August 8, 2020).

      115. Through the conduct described above, Dean Anderson has directly

violated the Non-Compete Covenant, including by serving as a Vice President of

The Lockton Companies, working for and on behalf of a Competitive Business

acting in a similar capacity and performing similar functions to his role at USI.

Dean Anderson’s conduct occurred within the Restricted Geographic Area during

the term of his employment.

      116. Although Dean Anderson's mere (and admitted) acceptance of

employment with a direct competitor of USI, the Lockton Companies, constitutes a

violation of his non-competition covenant, there is substantial evidence that Dean

Anderson has been and is already actively working on behalf of the Lockton

Companies to transfer business from USI to the Lockton Companies and to try to

encourage USI's employees to leave for the Lockton Companies.

      117. By virtue of this conduct, Dean Anderson has breached the Non-

Compete Covenant.




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      118. As a result of Dean Anderson’s improper competition, USI has

suffered, and is likely to continue to suffer, substantial injury, including in the form

of lost business opportunities, lost profits, and damage to USI’s goodwill from its

employees, clients, and potential clients.

      119. Accordingly, USI is entitled to preliminary and permanent injunctive

relief prohibiting Dean Anderson from continuing to breach his non-competition

obligations in the DA Employment Agreement, and to monetary damages for the

damages caused to USI by these breaches.

                        COUNT THREE:
   BREACH OF THE CLIENT NON-COMPETE COVENANTS OF THE
                         AGREEMENTS
                  (All Counterclaim Defendants)

      120. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      121. The Client Non-Compete Covenants, contained in Section 7.6 of the

DA Employment Agreement and the TA Employment Agreement and Section 4.6

of the RM Employment Agreement, are reasonable and necessary to protect the

legitimate business interests of USI.

      122. As set forth above, in the Client Non-Compete Covenants, the

Counterclaim Defendants agreed not to carry on any business in competition with


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USI by engaging in certain prohibited conduct within the Geographic Area during

the terms of their employment and for two (2) years thereafter.

      123. Substantial evidence exists that the Counterclaim Defendants have

been violating their Client Non-Compete Covenants, including:

                 Evidence of Taylor Anderson's involvement in moving the

                   business of USI client Tenax Aerospace from USI to the

                   Lockton Companies;

                 Evidence of Taylor Anderson and Roger Maldonado's

                   involvement in moving the business of USI client Brightwater

                   Partners and its affiliate, Arista Aviation Services, from USI to

                   the Lockton Companies;

                 Evidence of both Taylor Anderson's and Dean Anderson's

                   involvement in moving the business of USI client In-Flight

                   Crew Connections, LLC from USI, likely to the Lockton

                   Companies; and

                 Evidence of Taylor Anderson's involvement in moving the

                   business of USI client Rally Point Management, LLC from USI

                   to the Lockton Companies.




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      124. Through the conduct described above, the Counterclaim Defendants

have directly violated the Client Non-Compete Covenants, including by actively

working for and on behalf of a Competitive Business in the same markets as USI,

with a product or service of USI as to which the Counterclaim Defendants had a

role in the sale, marketing, distribution, or development during the terms of their

employment with USI or within two (2) years thereafter.

      125. By virtue of this conduct, the Counterclaim Defendants have breached

the Client Non-Compete Covenants.

      126. As a result of the Counterclaim Defendants’ improper competition,

USI has suffered, and is likely to continue to suffer, substantial injury, including in

the form of lost business opportunities, lost profits, and damage to USI’s goodwill

from its employees, clients, and potential clients.

      127. Accordingly, USI is entitled to preliminary and permanent injunctive

relief prohibiting the Counterclaim Defendants from continuing to breach their

non-competition obligations in the Agreements, and to monetary damages for the

damages caused to USI by these breaches.




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                          COUNT FOUR:
        BREACH OF NON-SOLICITATION COVENANTS OF THE
                          AGREEMENTS
                   (All Counterclaim Defendants)

      128. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      129. The Non-Solicitation Covenants, contained in Section 7.7 of the DA

Employment Agreement, Section 7.5 of the TA Employment Agreement, and

Section 4.5 of the RM Employment Agreement, are reasonable and necessary to

protect the legitimate business interests of USI.

      130. As set forth above, in the Non-Solicitation Covenants, the

Counterclaim Defendants agreed, among other things, to refrain from indirectly or

directly soliciting Client Accounts or Active Potential Clients of USI on behalf of

any Competitive Business during the term of their employment and for a period of

two (2) years thereafter.

      131. Through the conduct described above, the Counterclaim Defendants

have directly violated the Non-Solicitation Covenant, including by emailing clients

of USI's National Aviation Practice Group with whom they had not previously had

contact to notify them of their departure, for the purpose of diverting or attempting

to divert services away from USI with respect to existing USI Client Accounts and


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inducing the termination, cancellation or non-renewal of existing USI Client

Accounts.    In fact, Tenax Aerospace, one of the companies Taylor Anderson

emailed to notify of his departure on December 9, 2019, has already submitted a

BOR Contract changing its broker of record from USI to the Lockton Companies.

      132. By virtue of this conduct, the Counterclaim Defendants have breached

the Non-Solicitation Covenants.

      133. As a result of the Counterclaim Defendants' improper solicitation, USI

has suffered, and is likely to continue to suffer, substantial injury, including in the

form of lost business opportunities, lost profits, and damage to USI’s goodwill

from its employees, clients, and potential clients.

      134. Accordingly, USI is entitled to preliminary and permanent injunctive

relief prohibiting the Counterclaim Defendants from continuing to breach their

non-solicitation obligations in the Agreements, and to monetary damages for the

damages caused to USI by these breaches.

                               COUNT FIVE:
                      BREACH OF DUTY OF LOYALTY
                     (Dean Anderson and Taylor Anderson)

      135. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.



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      136. During their employment with USI, the Counterclaim Defendant Dean

Anderson and Taylor Anderson owed USI both a contractual and common law

duty of loyalty and good faith.

      137. Pursuant to the duty of loyalty under their Agreements, Dean

Anderson and Taylor Anderson each agreed to use their best efforts to faithfully,

diligently and completely perform all duties and responsibilities under the DA

Employment Agreement and the TA Employment Agreement, respectively, in

further of the business of USI.

      138. Dean Anderson and Taylor Anderson breached their duty of loyalty

and good faith to USI by working with The Lockton Companies while employed

by USI.

      139. Dean Anderson and Taylor Anderson's actions in support of the

Lockton Companies even precede their purported (but ineffective) resignations

from USI. The evidence indicates that the Andersons have been working to move

USI's clients over to the Lockton Companies, even though they still remain

employed by USI.

      140. The Andersons' unfair and unlawful competition has already caused

several USI clients to transfer their business from USI to the Lockton Companies.

Undoubtedly, the Andersons are continuing their ongoing efforts to seize USI's


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business in favor of the Lockton Companies, all while they remain employees of

and are paid by USI.

      141.    USI has been injured as a proximate result of the breaches of the duty

of loyalty and good faith by Dean Anderson and Taylor Anderson.

      142. The breaches of the duty of loyalty and good faith by Dean Anderson

and Taylor Anderson were willful and malicious.

      143. USI is entitled to recover compensatory damages, in an amount to be

proven at trial, and punitive damages from Dean Anderson and Taylor Anderson

for their breach of the duty of loyalty and good faith.

                                  COUNT SIX
                         BREACH OF FIDUCIARY DUTY
                       (Dean Anderson and Taylor Anderson)

      144. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      145. During their employment with USI, Dean and Taylor Anderson owe

USI a fiduciary duty.

      146. As Dean and Taylor Anderson have been employed by USI pursuant

to the Agreements, they were privy to confidential information concerning USI’s

business activities. Dean Anderson and Taylor Anderson agreed use their best

efforts to faithfully, diligently and completely perform all duties and

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responsibilities under their Agreement. (DA Employment Agreement, § 2.3; TA

Employment Agreement, § 2.4.) These duties included Dean Anderson's duty to

refrain from competing against USI (DA Employment Agreement, § 7.5), Dean

and Taylor Andersons' duty to refrain from competing with USI with respect to

Client Accounts (DA Employment Agreement, § 7.6; TA Employment Agreement,

§ 7.6), and Dean and Taylor Anderson's duty to refrain from soliciting Client

Accounts and Active Prospective Clients from USI. (DA Employment Agreement,

§ 7.7; TA Employment Agreement, § 7.5). Dean and Taylor Anderson also had a

duty not to undermine USI’s goodwill from its employees, clients, and potential

clients on behalf of a Competitive Business.

      147. Dean and Taylor Anderson breached their fiduciary duty to USI by

working with The Lockton Companies while employed by USI.

      148. Dean and Taylor Anderson breached their fiduciary duty to USI by

competing with USI while still employed and compensated by USI, using USI’s

resources to do so during the time they were employed by USI, and joining and/or

working in conjunction with the Lockton Companies while they remained USI

employees.

      149. Dean and Taylor Anderson further breached their fiduciary duty to

USI by helping solicit Client Accounts to leave USI and to enter into contractual


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arrangements with The Lockton Companies while they were still employed by

USI.

       150. USI has been injured as a proximate result of the breach of fiduciary

duty by Dean and Taylor Anderson.

       151. The breach of fiduciary duty by Dean and Taylor Anderson was

willful and malicious.

       152. USI is entitled to recover compensatory damages, in an amount to be

proven at trial, and punitive damages from Dean and Taylor Anderson for the

breach of their fiduciary duty.

                                COUNT SEVEN:
                              INJUNCTIVE RELIEF
                          (All Counterclaim Defendants)

       153. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

       154. As set forth above, the Counterclaim Defendants have breached their

contractual notice, non-competition, non-solicitation, and other contractual

obligations to USI.

       155. The Counterclaim Defendants’ conduct in actively, surreptitiously,

and deceptively competing with USI demonstrates that, if not enjoined, the



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Counterclaim Defendants are likely to continue to cause USI substantial and

irreparable harm.

      156. More specifically, as described above, the Counterclaim Defendants

are actively in the process of transferring USI's aviation clients from USI to the

Lockton Companies, and have already had some success in their unlawful efforts

to take USI's business.

      157. USI does not have an adequate remedy at law for the harm the

Counterclaim Defendants have already caused and are likely to continue to cause,

including the loss of and damage to the goodwill of USI’s employees, clients, and

potential clients. The amount of such damages would be significant, but difficult

to determine specifically.

      158. The Counterclaim Defendants agreed in the Agreements that, under

the present circumstances, USI is entitled to injunctive relief in order to enforce the

restrictive covenants in the Agreements. (See DA Employment Agreement, § 9;

TA Employment Agreement, § 9; RM Employment Agreement, § 5.)

      159. Accordingly, USI is entitled to preliminary and permanent injunctive

relief prohibiting the Counterclaim Defendants from continuing to breach the

Notice Provisions, the Non-Compete Covenant, the Client Non-Compete

Covenants, the Non-Solicitation Provisions, and the Duty of Loyalty Provisions in


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the Agreements.      USI is further entitled to injunctive relief requiring the

Counterclaim Defendants to comply with their obligations under Sections 2.3, 7.5,

7.6, 7.7 and 8.2 of the DA Employment Agreement; Sections 2.4, 7.5, 7.6, and 8.2

of the TA Employment Agreement, and Sections 4.5 and 4.6 of the RM

Employment Agreement.

                                 COUNT EIGHT:
                               ATTORNEYS’ FEES
                          (All Counterclaim Defendants)

      160. USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      161. The Counterclaim Defendants acted in bad faith in breaching the

notice provisions and restrictive covenants in the Agreements.

      162. The Counterclaim Defendants acted in bad faith in breaching their

duty of loyalty and good faith, as well as their fiduciary duty.

      163. By virtue of the conduct described above, the Counterclaim

Defendants have acted in bad faith, been stubbornly litigious and have caused USI

unnecessary trouble and expense.

      164. Pursuant to O.C.G.A. § 13-6-11, USI is entitled to its costs and

expenses, including reasonable attorneys’ fees.



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                                  COUNT NINE
                             PUNITIVE DAMAGES
                          (All Counterclaim Defendants)

       165.   USI restates and incorporates herein by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

       166. The Counterclaim Defendants’ foregoing tortious conduct was willful

misconduct and demonstrated malice, wantonness, an entire want of care, and

conscious indifference towards the consequences of their actions, and such conduct

was undertaken with the specific intent to harm USI.

       167. Punitive damages should be awarded in an amount sufficient to deter,

penalize, and punish the Counterclaim Defendants in light of the circumstances of

this case.

                             PRAYER FOR RELIEF

       WHEREFORE, Counterclaim Plaintiff USI respectfully requests the

following relief:

       (a)    That the Court enjoin Counterclaim Defendants Dean Anderson and

Taylor Anderson from terminating their employment with USI until after the

expiration of the sixty (60) days written notice provision within their Agreements

and providing that Dean and Taylor Anderson remain employees of USI

throughout the duration of this 60-day period, through February 7, 2020;

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      (b)    That the Court enjoin Counterclaim Defendants Dean Anderson and

Taylor Anderson from competing with USI or taking actions contrary to USI's

interests during the period of time that they remain employed by USI (i.e., through

February 7, 2020), in violation of their contractual and common law duties of

loyalty and fiduciary duties to USI, including prohibiting them during this time

period from providing services to USI's direct competitor, the Lockton Companies,

while still employed by USI;

      (c)    That the Court enjoin Counterclaim Defendant Dean Anderson from

further violation of his non-competition covenant that precludes him from being

employed by one of USI's competitors in the restricted geographic area both during

the term of his employment for USI (i.e., through February 7, 2020) and for a

period of six (6) months after the termination of his employment with USI (i.e.,

through August 8, 2020);

      (d)    That the Court enjoin all of the Counterclaim Defendants from

violating their agreements not to compete with USI with regard to Client Accounts

or Active Prospective Clients, as defined by their agreements, during the remaining

term of employment for Dean Anderson and Taylor Anderson and, for all

Counterclaim Defendants, a period of two (2) years after the effective dates of their

respective terminations from USI;


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      (e)     That the Court enjoin all of the Counterclaim Defendants from

violating their agreements not to solicit USI's Client Accounts or Active

Prospective Clients, as defined by their agreements, during the remaining term of

employment for Dean Anderson and Taylor Anderson and, for all Counterclaim

Defendants, a period of two (2) years after the effective dates of their respective

terminations from USI;

      (f)     That the Court award compensatory and punitive damages arising

from the Counterclaim Defendants breaches of the Agreements, including Dean

Anderson and Taylor Anderson's duty of loyalty and good faith and fiduciary duty;

      (g)     That the Court award USI all attorneys’ fees and costs it has incurred

and will incur in connection with this action; and

      (h)     That the Court award of such other and further relief as it deems just

and proper.




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Respectfully submitted this 18th day of December, 2019.

                          PARKER HUDSON RAINER & DOBBS LLP
                          s/ Jared C. Miller
                          Nancy H. Baughan
                          Georgia Bar No. 042575
                          Jared C. Miller
                          Georgia Bar No. 142219
                          Matthew M. Weiss
                          Georgia Bar No. 718795
                          303 Peachtree Street, NE, Suite 3600
                          Atlanta, Georgia 30303
                          Phone: (404) 523-5300
                          Fax: (404) 522-8409
                          E-mail:     nbaughan@phrd.com
                                      jmiller@phrd.com
                                      mweiss@phrd.com

                          Attorneys for USI Insurance Services LLC




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                        CERTIFICATE OF SERVICE
      I hereby certify that I have this day served a copy of the within and

foregoing DEFENDANT USI INSURANCE SERVICES LLC’S ANSWER,

AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS upon all parties to

this matter by electronically filing a copy of same with the Court’s CM/ECF

system, which will automatically send an electronic copy to the following counsel

of record:

                               Warren R. Hall, Jr., Esq.
                               Wayne M. Cartwright, Esq.
                               Hall, Gilligan, Roberts & Shanlever, LLP
                               3340 Peachtree Road – Suite 1900
                               Atlanta, Georgia 30326

      This 18th day of December, 2019.

                               s/ Jared C. Miller
                               Jared C. Miller
